Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 1 of 6 PageID 89
Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 2 of 6 PageID 90
Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 3 of 6 PageID 91
Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 4 of 6 PageID 92
Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 5 of 6 PageID 93
Case 8:08-cr-00193-JSM-MAP Document 44 Filed 10/15/08 Page 6 of 6 PageID 94
